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     Attorneys for Plaintiff Elon Musk
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 9
                       UNITED STATES DISTRICT COURT
10
                     NORTHERN DISTRICT OF CALIFORNIA
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12
     ELON MUSK, an individual,              Case No. 3:24-cv-04722
13
                       Plaintiff,           PLAINTIFF’S CERTIFICATION
14
                                            OF INTERESTED ENTITIES OR
15         v.                               PERSONS
16
     SAMUEL ALTMAN, an individual,
17   GREGORY BROCKMAN, an
     individual, OPENAI, INC., a
18
     Delaware corporation, OPENAI,
19   L.P., a Delaware limited
     partnership, OPENAI, L.L.C., a
20
     Delaware limited liability company,
21   OPENAI GP, L.L.C., a Delaware
     limited liability company, OPENAI
22
     OPCO, LLC, a Delaware limited
23   liability company, OPENAI
     GLOBAL, LLC, a Delaware limited
24
     liability company, OAI
25   CORPORATION, LLC, a Delaware
     limited liability company, OPENAI
26
     HOLDINGS, LLC, a Delaware
27   limited liability company,
28
     OPENAI INVESTMENT LLC, a
     Delaware limited liability company,
29
                                                          CERT. OF INT. ENTITIES
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         Case 3:24-cv-04722 Document 2 Filed 08/05/24 Page 2 of 3



 1
     OPENAI STARTUP FUND
     MANAGEMENT, LLC, a Delaware
 2   limited liability company, OPENAI
 3
     STARTUP FUND GP I, L.L.C., a
     limited liability company, OPENAI
 4   STARTUP FUND I, L.P. a
 5   Delaware limited partnership,
     OPENAI STARTUP FUND SPV
 6   GP I, L.L.C., a Delaware limited
 7   liability company, OPENAI
     STARTUP FUND SPV GP II,
 8   L.L.C., a Delaware limited liability
 9   company, OPENAI STARTUP
     FUND SPV GP III, L.L.C., a
10   Delaware limited liability company,
11   OPENAI STARTUP FUND SPV
     GP IV, L.L.C., a Delaware limited
12   liability company, OPENAI
13   STARTUP FUND SPV I, L.P., a
     Delaware limited partnership,
14   OPENAI STARTUP FUND SPV II,
15   L.P., a Delaware limited
     partnership, OPENAI STARTUP
16   FUND SPV III, L.P., a Delaware
17   limited partnership, OPENAI
     STARTUP FUND SPV IV, L.P., a
18   Delaware limited partnership,
19   AESTAS MANAGEMENT
     COMPANY, LLC, a Delaware
20   limited liability company, AESTAS,
21   LLC, a Delaware limited liability
     company, and DOES 1-10,
22
23                    Defendants.
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                                                        CERT. OF INT. ENTITIES
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          Case 3:24-cv-04722 Document 2 Filed 08/05/24 Page 3 of 3



 1        Pursuant to Civil L.R. 3-15, the undersigned certifies that as of this date,
 2 there is no conflict or interest (other than the named parties) to report.
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 5
     DATED: August 5, 2024             Respectfully Submitted,

 6                                     TOBEROFF & ASSOCIATES, P.C.
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                                       By: /s/ Marc Toberoff
 8                                           Marc Toberoff
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                                       Attorneys for Plaintiff Elon Musk
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                                            1                  CERT. OF INT. ENTITIES
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